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                                   5                                UNITED STATES DISTRICT COURT

                                   6
                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                   8

                                   9   YELP INC.,
                                  10                  Plaintiff,                             No. C 23-06508 WHA

                                  11            v.
                                                                                             ORDER GRANTING STIPULATED
                                  12   REVIEWVIO INC.,                                       DISMISSAL
Northern District of California
 United States District Court




                                  13                  Defendant.

                                  14

                                  15         Parties stipulated to dismissal with prejudice to ReviewVio, Inc., subject to the Court

                                  16   retaining jurisdiction (Dkt. No. 55). Upon advice of parties (Dkt. No. 60), the Court orders:

                                  17         The motion to seal (Dkt. No. 58) is GRANTED. Parties shall file the agreement as

                                  18   redacted onto the docket BY OCTOBER 11, 2024. Sealing is warranted on these facts and

                                  19   posture (see Dkt. No. 59 at 3:27–4:2); the Court retains jurisdiction over the care of its files.

                                  20   See Brennan v. Opus Bank, 796 F.3d 1125, 1134 (9th Cir. 2015).

                                  21         The stipulated dismissal with prejudice to ReviewVio (Dkt. No. 55) is GRANTED. The

                                  22   Court retains jurisdiction to enforce the agreement to the extent consistent with competition on

                                  23   the merits. Counsel for parties shall advise the Court whether retaining jurisdiction remains

                                  24   necessary beyond the first of two years by filing a joint statement on or before JUNE 11, 2025.

                                  25        IT IS SO ORDERED.

                                  26   Date: October 1, 2024.

                                  27
                                                                                                WILLIAM ALSUP
                                  28                                                            UNITED STATES DISTRICT JUDGE
